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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 ILKB, LLC

                                    Plaintiff,

                          -- VS
                             vs --                                Civil Action No. 1:20-cv-04201-ARR-
                                                                  SJB
 ARDAMANDEEP SINGH, HARJINDER SINGH, FIT
 THEOREM INC, FIT THEOREM SUGARLAND INC,
 AND FIT THEOREM FRIENDSWOOD INC.

                                 Defendants.

 AND

 ARDAMANDEEP SINGH,

                                 Defendant/Counter-
                                 Plaintiff,

                         -- VS
                            vs -–

 ILKB, LLC and MICHAEL PARRELLA,

                                    Counter-defendants/
                                    Additional Defendants.


    COUNTER-DEFENDANTS/ADDITIONAL DEFENDANTS ANSWER/REPLY TO
        COUNTER-PLAINTIFF’S
        COUNTER-PLAINTIFF'S THIRD AMENDED COUNTERCLAIMS
        Counter-Defendants/Additional Defendants ILKB, LLC and Michael Parrella ("Counter-
                                                                                (“Counter-

 Defendants”), by and through their attorneys, hereby answer Counter-Plaintiff Ardamandeep
 Defendants"),

 Singh’s (“Singh”) Counterclaims as follows:
 Singh's ("Singh")

                                                 General Denial

        Except as explicitly admitted, Counter-Defendants deny each and every allegation in

 Singh’s
 Singh's Counterclaims. Counter-Defendants specifically deny all allegations related to

 Defendants’ affirmative defenses and aver that none of them are viable.
 Defendants'
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                                               Nature of Action

         1.                                         1.1
                  Counter-Defendants Deny paragraph 1.1

         2.       As to Paragraph 2, Counter-Defendants deny that Singh relied on any

 misrepresentations or omissions, but admit the remainder of the paragraph.

         3.       Counter-Defendants deny paragraphs 3-7.

                                                     Parties

         4.       Counter-Defendants admit paragraph 8.

         5.       Except the phrase "or
                                    “or was a franchisor,”
                                              franchisor," which Counter-Defendants deny, Counter-

 Defendants admit paragraph 9.

         6.       Except the assertion that Parrella is currently, the chief executive office, which

 Counter-Defendants deny, Counter-Defendants admit paragraph 10.

                                           Jurisdiction and Venue

         7.       Counter-Defendants admit paragraphs 11-12.

                                                       Facts

         8.       Counter-Defendants deny paragraph 13 for lack of personal knowledge.

         9.       As to paragraph 14, Counter-Defendants admit that Singh spoke with ILKB

 personnel, including Parrella, prior to entering into the franchise agreement, but deny the

 remainder of the paragraph for lack of personal knowledge.

         10.      Counter-Defendants deny the allegations regarding dates and times in paragraph 15

 for lack of personal knowledge. Counter-Defendants further deny that any of the alleged

 representations were false at the time they were made.

         11.      Counter-Defendants deny paragraphs 16-19.

         12.      Counter-Defendants deny paragraphs 20-21 for lack of personal knowledge.


 1
 i For the avoidance of doubt, all paragraph numbers refer to those in the Counterclaims section Defendant's
                                                                                                 Defendant’s Answer
 and Counterclaims.
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        13.     Counter-Defendants deny paragraphs 22-23.

        14.     Counter-Defendants deny paragraph 24 for lack of personal knowledge.

        15.     As to paragraph 25, Counter-Defendants admit that Parrella resigned as CEO, but

 deny the remainder of the paragraph.

        16.     Counter-Defendants deny paragraphs 26-28.

                                             COUNT I

                                        Breach of Contract

        17.     As to paragraph 29, Counter-Defendants incorporate their responses to the

 preceding paragraphs as though fully set forth herein.

        18.     Counter-Defendants admit paragraph 30.

        19.     Counter-Defendants deny paragraph 31-33.

                                             COUNT II

                                        Common Law Fraud

        20.     As to paragraph 34, Counter-Defendants incorporate their responses to the

 preceding paragraphs as though fully set forth herein.

        21.     Counter-Defendants deny paragraphs 35-38.

                                            COUNT III

                                      Declaratory Judgment

        22.     As to paragraph 39, Counter-Defendants incorporate their responses to the

 preceding paragraphs as though fully set forth herein.

        23.     Defendants deny paragraphs 40-42.

                                  AFFIRMATIVE DEFENSES

                              First Affirmative Defense—Standing

        24.      Singh lack standing to bring the claims related to business losses. Those losses

 track to his entities, not him personally. Accordingly, he has not suffered articulable harm.

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                       Second Affirmative Defense—Non-Actionable Claims

        25.     The alleged misrepresentations are not actionable because they are matter of public

 record, matters of opinion, and/or forward looking, non-factual statements regarding possible

 outcomes. Under New York law, none of these are actionable.

       Third Affirmative Defense—Time-Barred by Statute of Limitations and Laches

        26.     The alleged misrepresentations all took place and were received by Singh prior to

 July 2016. Thus, all of these claims are stale and time-barred by the doctrine of laches.

        27.     Singh’s
                Singh's other claims are also barred by the applicable statutes of limitations,

 including the statute of limitations for the state of Texas.

                                Fourth Affirmative Defense—Offset

        28.     Singh owes money to ILKB based on his obligations under the Franchise

 Agreement and the claims asserted in the Complaint. Any award should be offset by the amounts

 owed by Plaintiffs.

                            Fifth Affirmative Defense—Unclean Hands

        29.     Singh made misrepresentations of material fact to obtain their franchise and

 behaved in a fashion that precludes them from obtaining the relief sought in this matter.

                       Sixth Affirmative Defense—Failure to State a Claim

        30.     Singh failed to state a claim on which relief can be granted.

   Seventh Affirmative Defense— Contributory Fault/Comparative Fault/Fault of Others

        31.     People other than Counter-Defendants, including but not limited to Singh and his

 codefendants, are responsible for the alleged harm suffered by Singh in this case.

        32.     Based on their fault, Singh should recover nothing, or in the alternative, have their

 damages reduced by the amount of fault caused by themselves and persons other than Counter-

 Defendants.



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                        Eighth Affirmative Defense—Failure to Mitigate

        33.     Singh failed to mitigate his damages by, among other things, failing to shift their

 cost structure, abusing the corporate form to pay for personal expenses, failing to take the offered

 buy out of their business, and failing to operate the business in a commercially reasonable manner.

        34.     Accordingly, Singh’s
                             Singh's damages should be reduced by the amount with which Singh

 failed to reduce his harm.

                              Ninth Affirmative Defense—Prior Breach

        35.     Singh breached the contract prior to Counter-Defendants'
                                                     Counter-Defendants’ alleged breach. Singh’s
                                                                                         Singh's

                                                  Defendant’s’ part.
 actions excuse any alleged breach of contract on Defendant's'

        WHEREFORE, having fully answered Singh’s
                                         Singh's Counterclaims and set forth their

 Affirmative Defenses, Counter-Defendants pray for judgment as follows:

        (1) That Singh take nothing by reason of their Complaint;

        (2) That judgment be entered against Singh and in favor of Counter-Defendants;

        (3) That Counter-Defendants be dismissed and awarded the costs of suit incurred herein;

 and

        (4) For such other and further relief as the Court may deem just and proper.


 Dated: September 2, 2021


                                              GORDON REES
                                              GORDON    REES SSCULLY  MANSUKHANI, LLP
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